           Case 3:19-cv-00137-SI             Document 59        Filed 04/12/19   Page 1 of 34




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                   IN THE UNITED STATES DISTRICT COURT
           FOR THE DISTRICT COURT OF OREGON, PORTLAND DIVISION

 COLUMBIA SPORTSWEAR NORTH                                                   Case No.: 3:19-cv-00137-SI
 AMERICA, INC., an Oregon corporation,
                                                              SEIRUS INDIVIDUALS’ MOTION TO
                                              Plaintiff,      DISMISS FOR LACK OF PERSONAL
          v.                                                  JURISDICTION, FOR LACK OF
                                                              VENUE, FOR INSUFFICIENT
 SEIRUS INNOVATIVE ACCESSORIES,                               SERVICE, AND FOR FAILURE TO
 INC., a Utah corporation, VENTEX CO.,                        STATE A CLAIM
 LTD., a foreign company, MICHAEL J.
 CAREY, an individual, WENDY M.
 CAREY, an individual, ROBERT (BOB)                           Hon. Michael H. Simon
 MURPHY, an individual, KYUNG-CHAN
 GO, an individual, MAN-SIK (PAUL)                            ORAL ARGUMENT REQUESTED
 PARK, an individual, and JOHN DOE
 NUMBERS 1-5, individuals,

                                          Defendants.


Page i - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
              Case 3:19-cv-00137-SI                        Document 59                 Filed 04/12/19               Page 2 of 34




                                                     TABLE OF CONTENTS

                                                                                                                                           Page(s)

LOCAL RULE 7 CERTIFICATION ............................................................................................... 1
MOTION ................................................................................................................................................ 1
INTRODUCTION ............................................................................................................................... 2
BACKGROUND .................................................................................................................................. 4
LEGAL STANDARDS ........................................................................................................................ 8
ARGUMENT ......................................................................................................................................... 9
I.         THIS COURT MUST DISMISS THE SEIRUS INDIVIDUAL
           DEFENDANTS FOR LACK OF PERSONAL JURISDICTION ............................... 9
           A.          Applying Traditional Principles of Personal Jurisdiction, None of the Seirus
                       Individuals Are Subject to Jurisdiction in Oregon ................................................11
                       1.          Columbia Cannot Establish General Personal Jurisdiction ....................11
                       2.          Columbia Cannot Establish Specific Personal Jurisdiction ....................12
           B.          Columbia’s Theories of Personal Jurisdiction Are Both Insufficient ................16
                       1.          Columbia’s Allegations That Defendants “Purposefully Directed”
                                   Actions at Oregon Are Insufficient after Walden .....................................16
                       2. RICO Does Not Confer Jurisdiction in Oregon, Because All
                          Defendants are Subject to Jurisdiction in California ...............................17
II.        THIS COURT SHOULD DISMISS OR TRANSFER FOR IMPROPER
           VENUE ....................................................................................................................................18
           A.          Oregon Is an Improper Venue .................................................................................19
                       1.          The “General” Venue Statute Does Not Allow Venue in Oregon .......19
                       2.          RICO Does Not Provide for Venue in Oregon .......................................20
                       3.          The “Residency” Provision Does Not Provide Venue ...........................22
           B.   Even If Venue Is Technically Proper in Oregon, the Court Should Transfer
                the Case to the Southern District of California Because It Is the More
                Convenient Venue ......................................................................................................22
III.       THE COURT SHOULD DISMISS WENDY CAREY AND ROBERT
           MURPHY BECAUSE THEY WERE NOT PROPERLY SERVED .........................24
IV.        COLUMBIA’S COMPLAINT FAILS TO ADEQUATELY STATE ANY
           CLAIMS FOR RELIEF .........................................................................................................25

Page ii - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
             Case 3:19-cv-00137-SI                     Document 59               Filed 04/12/19              Page 3 of 34




CONCLUSION ...................................................................................................................................25




Page iii - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
             Case 3:19-cv-00137-SI                      Document 59               Filed 04/12/19              Page 4 of 34




                                               TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

Cases

Action Embroidery Corp. v. Atl. Embroidery, Inc.,
   368 F.3d 1174 (9th Cir. 2004) ........................................................................................................ 9

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ....................................................................................................................... 19

Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
   874 F.3d 1064 (9th Cir. 2017) ......................................................................................... 10, 12, 16

Boschetto v. Hansing,
    539 F.3d 1011 (9th Cir. 2008) ...................................................................................................... 11

Bristol-Myers Squibb Co. v. Super. Ct. of Cal., S. F. Cty.,
    137 S. Ct. 1773 (2017) ................................................................................................................... 11

Brockmeyer v. May,
    383 F.3d 798 (9th Cir. 2004) .......................................................................................................... 9

Burger King Corp. v. Rudzewicz,
   471 U.S. 462 (1995) ....................................................................................................................... 12

Butcher’s Union Local No. 498 v. SDC Inv., Inc.,
    788 F.2d 535 (9th Cir. 1986) ................................................................................................. 10, 17

Calder v. Jones,
   465 U.S. 783 (1984) ....................................................................................................................... 16

Carlson v. Martin,
   160 Or App 350 (1999), rev den, 329 Or 287 (1999) ................................................................. 24

City of New York v. Cyco. Net, Inc.,
    383 F. Supp. 2d 526 (S.D.N.Y. 2005) ......................................................................................... 21

Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories,
   Case No. 17-cv-1781 (S.D. Cal. Sept. 29, 2017) ......................................................................... 5

Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories,
   Case Nos. 18-1329, -1331, -1728 (Fed. Cir.) ............................................................................... 5



Page iv - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
             Case 3:19-cv-00137-SI                      Document 59               Filed 04/12/19              Page 5 of 34




Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories, Inc.,
   265 F. Supp. 3d 1196 (D. Or. 2017) ............................................................................................. 4

Columbia Sportswear North America, Inc. v. Seirus Innovative Accessories, Inc.,
   No. 3:15-cv-00064-HZ (D. Or.), D.I. 259................................................................................. 18

Core-Vent Corp. v. Nobel Indus. AB,
   11 F.3d 1482 (9th Cir. 1993) ........................................................................................................ 14

Costlow v. Weeks,
   790 F.2d 1486 (9th Cir. 1986) ...................................................................................................... 20

Daimler AG v. Bauman,
   571 U.S. 117 (2014) ................................................................................................................ 13, 17

Direct Mail Specialists, Inc. v. Eclat Computerized Technologies, Inc.,
   840 F.2d 685 (9th Cir.1988) ........................................................................................................... 9

Dow Chem. Co. v. Calderon,
   422 F.3d 827 (9th Cir. 2005) ................................................................................................. 10, 13

First Interstate Bank v. VHG Aviation, LLC,
    291 F. Supp. 3d 1176 (D. Or. 2018) ...........................................................................................22

Gatz v. Pensoldt,
   271 F. Supp. 2d 1143 (D. Neb. 2003) ........................................................................................ 21

Goodyear Dunlop Tires Operations, S.A. v. Brown,
   564 U.S. 915(2011)......................................................................................................................... 17

Helicopteros Nacionales De Colombia v. Hall,
   466 U.S. 408 (1984) ................................................................................................................ 11, 12

Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
   485 F.3d 450 (9th Cir. 2007) ........................................................................................................ 17

Jones v. GNC Franchising, Inc.,
    211 F.3d 495 (9th Cir. 2000) ........................................................................................................ 23

Keeton v. Hustler Magazine,
    465 U.S. 770 (1984) ....................................................................................................................... 13

Lightspeed Aviation, Inc. v. Bose Corp.,
   2010 U.S. Dist. LEXIS 106607 (D. Or. Sept. 30, 2010).......................................................... 23


Page v - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
             Case 3:19-cv-00137-SI                      Document 59               Filed 04/12/19              Page 6 of 34




Mavrix Photo, Inc. v. Brand Techs., Inc.,
  647 F.3d 1218 (9th Cir. 2011) ...................................................................................................... 12

McCormack v. Medcor, Inc.,
  2014 U.S. Dist. LEXIS 66502 (N.D. Cal. May 14, 2014)........................................................ 23

Microsoft Corp. v. TiVo, Inc.,
   No. C11-00134, 2011 U.S. Dist. LEXIS 53774 (W.D. Wash. May 19, 2011) ..................... 23

Pac. Car & Foundry Co. v. Pence,
    403 F.2d 949 (9th Cir. 1968) ........................................................................................................ 21

Pfister v. Selling Source, LLC,
    931 F. Supp. 2d 1109 (D. Nev. 2013)......................................................................................... 13

Piedmont Label Co. v. Sun Garden Packing Co.,
    598 F.2d 491 (9th Cir. 1979) ................................................................................................... 8, 19

S.J. v. Issaquah Sch. Dist. No. 411,
    470 F .3d 1288, 1293 (9th Cir. 2006) ............................................................................................ 9

Schwarzenegger v. Fred Martin Motor Co.,
   374 F.3d 797 (9th Cir. 2004) .......................................................................................................... 8

Van Schaick v. Church of Scientology of California, Inc.,
  535 F. Supp. 1125 (D. Mass. 1982) .............................................................................................21

Ventex Co., Ltd. v. Columbia Sportswear N. Am., Inc.,
   IPR Nos. 2017-00789 and -00651................................................................................................. 5

Ventex Co., Ltd. v. Columbia Sportswear N. Am., Inc.,
   IPR2017-00789 (PTAB Feb. 20, 2018) ........................................................................................ 6

Ventex Co., Ltd. v. Columbia Sportswear North America, Inc.,
   IPR2017-651 (PTAB Nov. 19, 2018) ........................................................................................... 4

Walden v. Fiore,
  571 U.S. 277 (2014) .................................................................................................................passim

Wash. Shoe Co. v. A-Z Sporting Goods Inc.,
  704 F.3d 668 (9th Cir. 2012) ........................................................................................................ 16

Statutes

18 U.S.C. § 1965 ...................................................................................................................... 17, 19, 20

Page vi - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
              Case 3:19-cv-00137-SI                       Document 59                Filed 04/12/19               Page 7 of 34




18 U.S.C. § 1965(a)........................................................................................................................ 20, 21

28 U.S.C. § 1391(b)(2) .................................................................................................................. 19, 20

28 U.S.C. § 1391(c)(3) ................................................................................................................... 19, 22

28 U.S.C. § 1404(a)........................................................................................................................ 22, 23

28 U.S.C. § 1406(a)................................................................................................................................. 9

35 U.S.C. § 315(b) .................................................................................................................................. 6

Cal. Civ. Proc. Code § 425.16............................................................................................................. 15

Other Authorities

First Amendment ................................................................................................................................. 14

Fourteenth Amendment ..................................................................................................................... 11

Fed. R. Civ. P. 4(k)(2) .......................................................................................................................... 17

Fed. R. Civ. P. 12(b)(2) .......................................................................................................................... 1

Fed. R. Civ. P. 12(b)(3) .......................................................................................................................... 1

Fed. R. Civ. P. 12(b)(6) ............................................................................................................... 3, 4, 25

Or. R. Civ. P. 7(D)(2)(c) ...................................................................................................................... 24

ORCP 7(D)(2)....................................................................................................................................... 24




Page vii - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
         Case 3:19-cv-00137-SI       Document 59       Filed 04/12/19    Page 8 of 34




                           LOCAL RULE 7 CERTIFICATION

       Counsel for Seirus met and conferred with Columbia regarding the content of this

motion on March 11, 2019. (See Declaration of Seth Sproul (“Sproul Decl.”) submitted in

support of this motion at ¶ 2.) Before that meeting, Seirus’ counsel emailed counsel for

Columbia setting forth the primary basis for the motion, including citations to relevant case

law, so that the parties could have a substantive discussion. (See Sproul Decl., Ex. 1.)1

       On the meet and confer, counsel for Seirus explained why jurisdiction is lacking in this

Court, including discussing the supporting case law. (See Ex. 2 at 1.) Seirus also asked what

additional defendants Columbia intended to add to this case that might change the

jurisdictional calculus, and Columbia indicated that the only parties Columbia intended to add

were a Seirus employee in San Diego and additional Korean nationals. (Id.) In addition, since

the original meet and confer, Columbia’s counsel has stated that Columbia only intends to add

the single Seirus employee (from San Diego) to the case, and not any additional Korean

nationals, or anyone else. (See id.) Columbia opposes this motion.

                                          MOTION

       Defendants Michael J. Carey, Wendy M. Carey, and Robert (“Bob”) Murphy (together,

the “Seirus Individuals”) move this Court to dismiss them from this case under Federal Rules

of Civil Procedure 12(b)(2), 12(b)(3), and 12(b)(6) because the Court lacks personal jurisdiction

over them, because venue is improper, and because Columbia’s First Amended Complaint




1Unless otherwise noted, all exhibits are attached to the Sproul Declaration submitted in
support of this motion.
Page 1 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
         Case 3:19-cv-00137-SI      Document 59       Filed 04/12/19    Page 9 of 34




fails to state a claim on which relief can be granted. Defendants Ms. Carey and Mr. Murphy

also move to dismiss because service was defective.

                                    INTRODUCTION

       The Seirus Individuals lack any connection to Oregon. Columbia acknowledges that

none of the Seirus Individuals are residents of Oregon. The only acts alleged to have been

taken by Seirus Individuals in Oregon relate to other litigation, though none of these

individuals were even parties to that litigation and only one of them (Mr. Carey) set foot in

Oregon in defense of that litigation. Neither the Seirus Individuals’ alleged participation in

litigation in Oregon nor any alleged participation in IPR proceedings in Virginia before the

Patent Office involving patents owned by an Oregon corporation are sufficient basis for an

Oregon court to have jurisdiction over them.

       Columbia nevertheless alleges that jurisdiction is proper in Oregon for two primary

reasons, each of which is flawed. First, Columbia alleges that jurisdiction over the Seirus

Individuals in Oregon is proper because they allegedly targeted Columbia in Oregon by

seeking to cancel claims from two of Columbia’s patents. The Supreme Court, however, has

rejected this “targeting” theory of personal jurisdiction, and the Ninth Circuit has since

recognized that simply taking actions that affect a defendant in a given forum does not give

rise to jurisdiction in that forum. Second, Columbia argues that jurisdiction in Oregon is

proper because the federal RICO statute allows for nationwide jurisdiction in certain limited

circumstances. The Ninth Circuit has held that the exercise of nationwide personal jurisdiction

is only appropriate, however, where no other jurisdiction exists in which all defendants are

subject to personal jurisdiction. Contrary to Columbia’s conclusory allegations, each of the

Page 2 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19     Page 10 of 34




Seirus Individuals are subject to general jurisdiction in the Southern District of California, and

the only other defendants in this case are the Seirus corporate entity (which is based in San

Diego) and Korean nationals, who are subject to nationwide personal jurisdiction. The

Southern District of California would have personal jurisdiction over all defendants, so that is

where this case should have been brought.

       The case should additionally be dismissed because Oregon is an improper venue.

Neither the general venue statute nor the RICO-specific venue provision allow for this case

to be brought in Oregon. The central locus of the acts alleged by Columbia is California—

the Seirus Individuals are located there, the payments underlying the scheme alleged by

Columbia originated there, and the communications between Seirus and Ventex in furtherance

of the alleged scheme all occurred from California. Only a few peripheral acts occurred in

Oregon, mainly as a result of other litigation pending between Columbia and Seirus—litigation

that was later transferred to the Southern District of California because venue was improper

in Oregon. As none of the defendants reside or conduct business in Oregon, Oregon is an

improper venue.

       As to service, defendants Wendy Carey and Robert Murphy should be dismissed in this

case because Columbia failed to properly serve them. Columbia attempted to effectuate

service against these two individuals by mailing uncertified copies to the Seirus corporate

headquarters. Under Oregon law, this is insufficient, and, absent proper service, this Court

lacks jurisdiction over Ms. Carey and Mr. Murphy.

       Lastly, this case should be dismissed under Fed. R. Civ. P. 12(b)(6) as to the Seirus

Individuals because Columbia fails to state claims upon which relief can be granted. Seirus

Page 3 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI         Document 59       Filed 04/12/19     Page 11 of 34




has filed a Rule 12(b)(6) motion on the same date as this motion, and the reasons for dismissal

stated in that motion are the same for the Seirus Individuals. The Seirus Individuals join that

motion and request dismissal for all the reasons stated there.

                                        BACKGROUND

       This litigation is the most recent installment in Columbia’s litigation campaign waged

against Seirus and Ventex. Columbia started its campaign by suing Ventex in Korea in 2013,

alleging infringement of the Korean counterpart to the U.S. patents Columbia now alleges

Seirus and Ventex conspired to invalidate. (See Petitioner’s Opening Brief Regarding Time-

Bar Issues, Paper 104, at 2, Ventex Co., Ltd. v. Columbia Sportswear North America, Inc., IPR2017-

651 (PTAB Nov. 19, 2018).) Ventex successfully defended that attack, invalidating the patent

in a decision that was eventually affirmed by the Korean Supreme Court. (See id.)

       Columbia then turned to litigation in the U.S. In 2015, Columbia brought suit against

Seirus (the corporate entity) in Oregon alleging that Seirus infringed two utility patents, U.S.

Patents 8,424,119 and 8,453,270, which Columbia now accuses Seirus of conspiring to

invalidate, and a design patent owned by Columbia. In that case, Columbia alleged that Seirus’

“HeatWave” products, which include gloves, hats, and socks for sports such as skiing,

infringed the three patents. Judge Hernandez transferred that case to the Southern District of

California after determining that Oregon was an improper venue.

       Columbia’s U.S. case against Seirus also resulted in a finding of no liability on the two

patents that are the subject of Columbia’s allegations here. Columbia had been asserting claims

2 and 16 of the ’119 patent and claims 2 and 23 of the ’270 patent, but Columbia dropped the

’119 patent just before trial. See Columbia Sportswear N. Am., Inc. v. Seirus Innovative Accessories,

Page 4 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI         Document 59       Filed 04/12/19     Page 12 of 34




Inc., 265 F. Supp. 3d 1196, 1208 (D. Or. 2017). The jury returned a verdict invalidating the

only two asserted claims of the ’270 patent. (See Jury Verdict, D.I. 377, Columbia Sportswear N.

Am., Inc. v. Seirus Innovative Accessories, Case No. 17-cv-1781 (S.D. Cal. Sept. 29, 2017).) In post-

trial rulings, the Court upheld the verdict, and an appeal is currently pending. (See Order

Denying Post-Trial Motions, D.I. 455, Columbia Sportswear N. Am., Inc. v. Seirus Innovative

Accessories, Case No. 17-cv-1781 (S.D. Cal. Mar. 13, 2018); see also generally Columbia Sportswear

N. Am., Inc. v. Seirus Innovative Accessories, Case Nos. 18-1329, -1331, -1728 (Fed. Cir.).) If the

jury’s verdict of invalidity is affirmed, as Seirus fully expects, Seirus will have no liability for

alleged infringement of the ’270 patent, regardless of the outcome of the IPRs that Columbia

alleges Seirus and Ventex conspired together to file challenging that patent. Moreover, having

dropped the ’119 patent, Columbia is now precluded from asserting that Seirus infringes that

patent, and thus, once again, regardless of the outcome of the IPRs, Seirus will have no liability

for the ’119 patent. None of the Seirus Individuals were parties to that litigation.

       While the case against Seirus was pending, Ventex—the supplier of liner fabric that is

used in the allegedly infringing HeatWave products—sought to invalidate the utility patents

asserted against Seirus. Ventex filed two petitions with the U.S. Patent and Trademark Office

seeking inter partes review of three of the four claims of the ’119 and ’270 patents that were

asserted against Seirus. (See Ventex Co., Ltd. v. Columbia Sportswear N. Am., Inc., IPR Nos. 2017-

00789 and -00651.) Notably, Ventex’s IPRs did not challenge claim 23 of the ’270 patent,

which was at issue in the Seirus/Columbia trial. So Ventex’s IPRs could not have eliminated

Seirus’ potential infringement liability, even if Ventex was completely successful.



Page 5 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI          Document 59    Filed 04/12/19    Page 13 of 34




       Columbia’s complaint here is largely based on the allegation that Ventex intentionally

failed to name Seirus as a “real party in interest” in the IPRs. The relevant statutes prohibit

the Patent Office from instituting an IPR when it is filed over a year after the petitioner, or a

real party in interest, or a privy was sued for infringement. See 35 U.S.C. § 315(b). Columbia

had sued Seirus for infringement over a year before Ventex filed its IPRs. So Columbia’s

theory appears to be that Ventex supposedly hid Seirus’ alleged involvement in the IPRs to

avoid that time bar. In the IPRs, the Patent Office ultimately found that Ventex had not met

its burden of proof to show that Seirus was not a real party in interest or that there was no

privity between Ventex and Columbia, so it terminated the IPRs. (See Termination Order,

Paper 152, Ventex Co., Ltd. v. Columbia Sportswear N. Am., Inc., IPR2017-00789 (PTAB Feb. 20,

2018).) Ventex has indicated it will appeal that decision to the Federal Circuit, and that appeal

is forthcoming. Seirus did not actually participate or file any papers in the IPRs setting forth

its position on any of those issues.

       With its Korean patent invalidated, and with its U.S. utility patents currently

unenforceable against Seirus, Columbia now brings this suit. Columbia alleges that Seirus (the

corporate entity) and the Seirus Individuals conspired with Ventex and its employees to

invalidate certain claims of Columbia’s utility patents in IPR. (See generally, FAC, at ¶¶ 1–6.)

Each of Columbia’s claims rely on the same set of alleged facts. In particular, Columbia alleges

that Seirus and Ventex conspired to evade the one-year time limit for seeking IPR in 35 U.S.C.

§ 315(b). (See id.) Columbia alleges that instead of seeking IPR of Columbia’s patent itself,

Seirus directed and paid Ventex to file the IPRs on its behalf without identifying Seirus as the

real party in interest to the IPRs. (See id.) As Seirus will show when addressing the merits,

Page 6 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI       Document 59       Filed 04/12/19    Page 14 of 34




Columbia’s allegation makes no sense. Seirus had no reason to pay Ventex to file IPRs that

fail to challenge the patent claims Columbia asserted against Seirus.

       Although Columbia sued in Oregon, none of the defendants reside in Oregon or have

any tangible connection to Oregon. None of the Seirus Individuals live in Oregon, work in

Oregon, own any property in Oregon, or otherwise have any connection to the state. (See

Declaration of Michael Carey, ¶¶ 14-20; Declaration of Wendy Carey, ¶¶ 2-6; Declaration of

Bob Murphy, ¶¶ 2-6.) The only time any of the Seirus Individuals have even been in Oregon

in the recent past was to attend hearings or mediation in connection with the earlier litigation

brought by Columbia in Oregon, which, as mentioned above, was transferred to the Southern

District of California on venue grounds. (See Declaration of Michael Carey, ¶¶ 18-19.) The

only other defendants are the Seirus corporate entity, which is incorporated in Utah, has its

principal place of business in San Diego, has made only minimal sales unconnected with this

case in Oregon; a Korean Company (Ventex); and Korean nationals (the Ventex individual

defendants). (See Declaration of Michael Carey, ¶¶ 2, 7-10.)

       Very few, if any, of the events underlying Columbia’s claims have any connection to

Oregon either. Columbia alleges violation of the federal RICO statute and the Oregon RICO

statute, as well as both statutory and common law fraud under Oregon and Virginia state law.

(See generally FAC, at ¶¶ 220–394.) The alleged acts underlying Columbia’s complaint include:

(1) Seirus entering into an agreement with Ventex whereby Seirus in California would pay for

Ventex in Korea to pursue IPRs against the Columbia patents (see generally id. at ¶¶ 86–88;

¶ 96); (2) Seirus paying Ventex to fund the IPRs (see generally id. at ¶¶ 89–95); (3) Ventex

electronically filing two IPR petitions with the Patent Office in Virginia, identifying itself as

Page 7 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19    Page 15 of 34




the real party in interest to the IPRs (see generally id. at ¶¶ 103–107; ¶¶ 114–117); (4)

communications between Seirus in California and Ventex in Korea (see id. at ¶¶ 134–144;

¶¶ 200–204); (5) Seirus notifying the Oregon district court that Ventex had filed IPRs (see id.

at ¶ 150); (6) Seirus moving, both in writing and orally, in this Court to stay the patent case

against it in light of the Ventex IPRs (see id. at ¶¶ 241-243, 338); (7) Ventex moving to stay

patent litigation brought by Columbia against it in Oregon based on the Ventex IPRs (see

generally id. at ¶¶ 158–161); and (8) alleged discovery violations by Ventex in the IPRs (see

generally id. at ¶¶ 176–194). The center of Columbia’s allegations—an alleged conspiracy

between Seirus and Ventex—did not touch Oregon at all. The only events alleged to have

happened in Oregon relate to participation in other litigation by Seirus and Ventex after already

having been haled into this Court, and depositions given by Ventex defendants Messrs. Go

and Park but only after the Board had ordered them to be deposed in Oregon. And, again,

this Court ultimately found that Columbia’s case against Seirus did not belong in Oregon and

transferred it to California on venue grounds.

                                   LEGAL STANDARDS

       The plaintiff bears the burden of demonstrating that the court’s exercise of jurisdiction

is proper. See Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004). A

plaintiff cannot solely rest on the bare allegations of its complaint, but uncontroverted

allegations in the complaint must be taken as true. Id. If a Court does not have personal

jurisdiction over a defendant, it must dismiss. See id.

       A plaintiff has a similar burden to demonstrate that venue is proper in the court in

which the action is brought. See Piedmont Label Co. v. Sun Garden Packing Co., 598 F.2d 491, 496

Page 8 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI         Document 59       Filed 04/12/19     Page 16 of 34




(9th Cir. 1979). On a motion to dismiss for improper venue, a “defendant over whom

personal jurisdiction exists but for whom venue is improper may move for dismissal or transfer

under 28 U.S.C. § 1406(a).” Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1181

(9th Cir. 2004). “The district court of a district in which is filed a case laying venue in the

wrong division or district shall dismiss, or if it be in the interest of justice, transfer such case

to any district or division in which it could have been brought.” 28 U.S.C. § 1406(a).

       Lastly, after a challenge to service of process, the “plaintiff[] bear[s] the burden of

establishing that service was valid under Rule 4.” Brockmeyer v. May, 383 F.3d 798, 801 (9th

Cir. 2004). “A federal court does not have jurisdiction over a defendant unless the defendant

has been served properly under” Rule 4. Direct Mail Specialists, Inc. v. Eclat Computerized

Technologies, Inc., 840 F.2d 685, 688 (9th Cir. 1988). As such, when service of process is

insufficient, the court has discretion either to dismiss the action without prejudice or to quash

service. S.J. v. Issaquah Sch. Dist. No. 411, 470 F .3d 1288, 1293 (9th Cir. 2006).

                                         ARGUMENT

I.     THIS COURT MUST DISMISS THE SEIRUS INDIVIDUAL
       DEFENDANTS FOR LACK OF PERSONAL JURISDICTION

       Columbia alleges two bases of jurisdiction, neither of which is sufficient to confer

personal jurisdiction. First, Columbia alleges that jurisdiction over the Seirus Individuals exists

because they allegedly “purposefully directed” actions at Oregon in participating in a scheme

designed to invalidate claims of patents owned by an Oregon company and to stay pending

litigation against Seirus. (See, e.g., FAC, at ¶ 24.) Columbia’s argument is wrong, however, at

least because it is based on outdated law. In Walden v. Fiore, 571 U.S. 277, 283 (2014), the

Supreme Court rejected jurisdiction based on a theory of “individualized targeting” of a
Page 9 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19     Page 17 of 34




plaintiff, holding that the personal jurisdiction inquiry must focus on the defendant’s relevant

contacts with the forum state. As the Ninth Circuit has since recognized, “following Walden,

… while a theory of individualized targeting may remain relevant to the minimum contacts

inquiry, it will not, on its own, support the exercise of specific jurisdiction, absent compliance

with what Walden requires.” See Axiom Foods, Inc. v. Acerchem Int'l, Inc., 874 F.3d 1064, 1070

(9th Cir. 2017). The only actual contact with Oregon by the Seirus Individuals relates to

preparing declarations in support of a motion to stay filed by the Seirus corporate entity in the

patent infringement case, (see FAC, ¶¶ 30-32), which cannot confer jurisdiction. See Dow Chem.

Co. v. Calderon, 422 F.3d 827, 836 (9th Cir. 2005) (holding that even consenting to personal

jurisdiction in an earlier case does not waive personal jurisdiction in subsequent case).

       Columbia next alleges that even if this Court would otherwise not be able to exercise

jurisdiction over the Seirus Individuals, the Court can nonetheless keep them in this case

because RICO allows for nationwide jurisdiction where the “ends of justice require” it. (See,

e.g., FAC, at ¶ 25.) Columbia is again wrong. This Court could exercise national jurisdiction

over the Seirus defendants only if no other jurisdiction exists that would have personal

jurisdiction over all defendants. See Butcher's Union Local No. 498 v. SDC Inv., Inc., 788 F.2d

535, 539 (9th Cir. 1986) (holding that “[f]or nationwide service to be imposed under section

1965(b), the court must have personal jurisdiction over at least one of the participants in the

alleged multidistrict conspiracy and the plaintiff must show that there is no other district in

which a court will have personal jurisdiction over all of the alleged co-conspirators”). Here,

the Southern District of California has personal jurisdiction over all defendants, so this Court

cannot exercise nationwide jurisdiction over them.

Page 10 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
         Case 3:19-cv-00137-SI         Document 59       Filed 04/12/19      Page 18 of 34




       A.      Applying Traditional Principles of Personal Jurisdiction, None of the
               Seirus Individuals Are Subject to Jurisdiction in Oregon

       “The Due Process Clause of the Fourteenth Amendment constrains a State’s authority

to bind a nonresident defendant to a judgment of its courts.” Walden, 571 U.S. at 283.

“Although a nonresident’s physical presence within the territorial jurisdiction of the court is

not required, the nonresident generally must have ‘certain minimum contacts…such that the

maintenance of the suit does not offend ‘traditional notions of fair play and substantial

justice’.’” Id. These contacts may arise in jurisdiction in two independent ways: general

jurisdiction and specific jurisdiction. See Boschetto v. Hansing, 539 F.3d 1011, 1016 (9th Cir.

2008). Columbia cannot establish that either is present here.

               1.      Columbia Cannot Establish General Personal Jurisdiction

       This Court does not have general personal jurisdiction over any of the Seirus

Individuals. General jurisdiction may be found where a defendant has acted “continuous[ly]

and systematic[ally]” in a forum state. See Helicopteros Nacionales De Colombia v. Hall, 466 U.S.

408, 415-16 (1984). “For an individual, the paradigm forum for the exercise of general

jurisdiction is the individual’s domicile.” Bristol-Myers Squibb Co. v. Super. Ct. of Cal., S. F. Cty.,

137 S. Ct. 1773, 1780 (2017). None of the Seirus Individuals are domiciled in Oregon. (See

Declaration of Michael Carey, ¶¶ 14-15; Declaration of Wendy Carey, ¶¶ 2-3; Declaration of

Bob Murphy, ¶¶ 2-3.) None of them own any property in Oregon. (See id.) The only time in

which any of them have even been in Oregon in the recent past is to attend hearings or

mediation in connection with the patent litigation brought by Columbia that was eventually

transferred to the Southern District of California for improper venue. (See Declaration of

Michael Carey, ¶¶ 18-19.) Indeed, nowhere does Columbia allege that any of the Seirus
Page 11 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
         JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
         AND FOR FAILURE TO STATE A CLAIM
         Case 3:19-cv-00137-SI       Document 59      Filed 04/12/19    Page 19 of 34




Individuals have the type of “continuous and systematic” contacts with Oregon that would be

required for a defendant to be subject to the general personal jurisdiction of an Oregon court.

See Helicopteros, 466 U.S. at 416.

               2.      Columbia Cannot Establish Specific Personal Jurisdiction

       This Court also does not have specific jurisdiction over any of the Seirus Individuals.

“The inquiry whether a forum State may assert specific jurisdiction over a nonresident

defendant focuses on the relationship among the defendant, the forum, and the litigation.”

Axiom, 874 F.3d at 1068. “There are three requirements for a court to exercise specific

jurisdiction over a nonresident defendant: (1) the defendant must either purposefully direct

his activities toward the forum or purposefully avail himself of the privileges of conducting

activities in the forum; (2) the claim must be one which arises out of or relates to the

defendant's forum-related activities; and (3) the exercise of jurisdiction must comport with fair

play and substantial justice, i.e. it must be reasonable.” Id. (internal quotation marks and

alterations omitted). Columbia bears the burden of satisfying the first two prongs. Mavrix

Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1228 (9th Cir. 2011). If Columbia satisfies the

first two prongs, the Seirus Individuals must present a “compelling case” that the exercise of

jurisdiction would not be reasonable. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 476-77

(1985). Specific jurisdiction fails according to each of these three prongs.

       As to the first two prongs, Columbia cannot show a connection between the alleged

actions undertaken by the Seirus Individuals and Oregon. The only alleged connection relates

to certain filings and motions made by the Seirus corporation in litigation brought by Columbia

in Oregon. Jurisdiction over the individuals in this case cannot, though, be based on

Page 12 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 20 of 34




participation in prior litigation in the same forum state. Unlike a situation where a party

intentionally goes into a forum state and files a suit there (thus purposefully availing herself of

the laws of the forum state), simply defending against claims is insufficient. See Dow Chem. Co.

v. Calderon, 422 F.3d 827, 835–36 (9th Cir. 2005) (“Without an independent affirmative

decision to seek relief in our courts, there can be no imputation of a conscious decision to

settle all aspects of a dispute here.”). “A party’s consent to jurisdiction in one case does not

subject it to jurisdiction in another case.” Pfister v. Selling Source, LLC, 931 F. Supp. 2d 1109,

1116 (D. Nev. 2013). The case against jurisdiction is even stronger here, because Seirus did

not even consent to personal jurisdiction in the prior case and, ultimately, the Court ordered

the case transferred out of Oregon on venue grounds.

       What’s more, none of the Seirus Individuals were parties to the patent infringement

lawsuit. Jurisdiction over employees or officers of a corporation requires a separate analysis

from the determination as to jurisdiction over the corporation. See Keeton v. Hustler Magazine,

465 U.S. 770, 781 n.13 (1984) (explaining that “jurisdiction over an employee does not

automatically follow from jurisdiction over the corporation which employs him”); cf. Daimler

AG v. Bauman, 571 U.S. 117, 134 (2014) (refusing to impute activities of a subsidiary to its

parent corporation to establish jurisdiction). Yet Columbia’s jurisdictional allegations against

the defendants are primarily based on alleged actions taken by Seirus, not the individuals. (See

FAC, at ¶¶ 30–32.) Columbia’s only allegation against the Seirus Individuals is that they

provided declarations “cited” by Seirus in the prior case. (See id.) That is far too attenuated

to allow the Court to exercise personal jurisdiction over them in this case. See Walden, 571

U.S. at 284 (“For a State to exercise jurisdiction consistent with due process, the defendant’s

Page 13 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19     Page 21 of 34




suit-related conduct must create a substantial connection with the forum State.”). And, as

discussed above, simply participating in litigation cannot amount to sufficient contact for

jurisdiction purposes.

       As to the third prong, the exercise of jurisdiction by this Court would not comport

with traditional notions of fair play and substantial justice. To evaluate reasonableness, the 9th

Circuit uses a seven-factor balancing test that weighs: (1) the extent of the defendant’s

purposeful interjection into the forum state’s affairs; (2) the burden on the defendant of

defending in the forum; (3) the extent of conflict with the sovereignty of the defendant’s state;

(4) the forum state’s interest in adjudicating the dispute; (5) the most efficient judicial

resolution of the controversy; (6) the importance of the forum to the plaintiff’s interest in

convenient and effective relief; and (7) the existence of an alternative forum. Core-Vent Corp.

v. Nobel Indus. AB, 11 F.3d 1482, 1487–1488 (9th Cir. 1993).

       Each of these factors weighs against jurisdiction in Oregon.            First, the Seirus

Individuals’ contacts with Oregon are minimal, if any at all. Second, the burden on the Seirus

Individuals (and also the Seirus corporation) in having to defend themselves in Oregon is

significant—they have to hire local counsel in Oregon and will have to travel a significant

distance at significant cost to defend themselves.

       Third, trying this case in Oregon might conflict with California’s sovereignty and laws

that protect California citizens from spurious lawsuits designed to quash First Amendment

activity. Columbia alleges that the goal of the alleged scheme between Seirus and Ventex was

to petition the government to cancel invalid patent claims. California has created strong

protections for its citizens against suits that have the potential to “chill the valid exercise of

Page 14 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19     Page 22 of 34




the constitutional rights of freedom of speech and petition for the redress of grievances.” Cal.

Civ. Proc. Code § 425.16 (West). A California court would be best situated to protect its own

citizens’ Constitutional rights.

       Fourth, Oregon has only a minimal interest in this case. As noted above, only a tiny

part of the alleged conspiracy took place in Oregon—a part that is legally irrelevant to

determining jurisdiction. The majority of alleged acts took place in California, Korea, or

Virginia. The only real connection with Oregon is the fact Columbia is based there. That fact,

though, is immaterial to personal jurisdiction over the Seirus Individuals, because “it is the

defendant, not the plaintiff or third parties, who must create contacts with the forum State”

for the exercise of personal jurisdiction to be proper, and “the mere fact that [a defendant’s]

conduct affected plaintiffs with connections to the forum State does not suffice to authorize

jurisdiction.” Walden, 571 U.S. at 291.

       Lastly, the Southern District of California is a more than adequate alternative forum

for the efficient, convenient, and effective resolution of this controversy. It has general

jurisdiction over each of the Seirus defendants and may permissibly exercise jurisdiction over

the foreign Ventex defendants. It is not overburdened—the average time to trial in the SDCA,

for example for a patent case, is 28 months according to Docket Navigator, which beats the

national average of 35 months by 7 months. Thus there is no decline in efficiency as compared

to this Court. The Southern District of California is also the most convenient and effective

place for this case to be tried—the parties previously tried a patent case there without any

issues, and all of Seirus’ evidence is located there. (See Declaration of Michael Carey, ¶¶ 3, 5.)



Page 15 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 23 of 34




       B.      Columbia’s Theories of Personal Jurisdiction Are Both Insufficient

               1.     Columbia’s Allegations That Defendants “Purposefully Directed”
                      Actions at Oregon Are Insufficient after Walden

       Columbia’s first personal jurisdiction theory—that the Seirus Individuals “purposefully

directed [their] conduct at this forum,” targeting Columbia and litigation pending in Oregon,

see, e.g., FAC, at ¶¶ 30–32—conflicts with the Supreme Court’s recent Walden decision. Before

Walden, the 9th Circuit had allowed such a theory based on the earlier decision in Calder v. Jones,

465 U.S. 783 (1984). See, e.g., Wash. Shoe Co. v. A-Z Sporting Goods Inc., 704 F.3d 668, 675 (9th

Cir. 2012). But, in Walden, the Supreme Court limited Calder to its facts, explaining that its

holding “was largely a function of the nature of the libel tort” at issue there. Walden, 571 U.S.

at 287. Walden instead held that the analysis must focus on the relationship “the defendant

himself’ creates with the forum state,” and not where the effects of tortious conduct are felt.

Id. at 284. Walden then rejected the Ninth Circuit’s previous understanding that a defendant’s

“knowledge of [the plaintiffs’] strong forum connections,” plus the “foreseeable harm” the

plaintiffs suffered in the forum, comprised sufficient minimum contacts. Id. at 289.

       The Ninth Circuit has since recognized that Walden changed the law and eliminated a

plaintiff’s ability to rely solely on a “targeting” theory to establish personal jurisdiction. “[A]

theory of individualized targeting may remain relevant to the minimum contacts inquiry, it will

not, on its own, support the exercise of specific jurisdiction, absent compliance with what

Walden requires.” Axiom, 874 F.3d at 1070. Walden requires a focus on the defendant’s

purposeful and intentional contacts with a forum state, and not the effects of extra-forum

activity felt in the forum. Under the proper analysis set forth in Walden as opposed to

Columbia’s targeting theory, jurisdiction in Oregon cannot be maintained.
Page 16 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI       Document 59       Filed 04/12/19     Page 24 of 34




              2.      RICO Does Not Confer Jurisdiction in Oregon, Because All
                      Defendants are Subject to Jurisdiction in California

       Columbia’s second jurisdictional allegation equally insufficient. Columbia alleges that

18 U.S.C. § 1965 allows this Court to exercise personal jurisdiction over the Seirus Individuals

as the “ends of justice [so] require.” (See FAC, at ¶ 25.) Columbia’s allegations, though, are

again insufficient. To invoke § 1965(b), “the plaintiff must show that there is no other district

in which a court will have personal jurisdiction over all of the alleged co-conspirators.”

Butcher's Union Local No. 498 v. SDC Inv., Inc., 788 F.2d 535, 539 (9th Cir. 1986). Columbia

cannot make this showing.

       Contrary to Columbia’s conclusory allegation otherwise, (FAC at ¶ 47), the Southern

District of California has personal jurisdiction over all defendants. Each Seirus defendant

would be subject to general jurisdiction in the Southern District of California. The Seirus

corporate defendant has its headquarters in the Southern District of California in Poway, CA,

see FAC, at ¶ 13, which is one of the “paradigm bases” for exercising general jurisdiction.

Daimler, 571 U.S. at 137. Each of the Seirus Individuals reside in San Diego, within the

Southern District of California, see FAC, at ¶¶ 15–17, which, again, makes that “the paradigm

forum for the exercise of general jurisdiction.” Goodyear Dunlop Tires Operations, S.A. v. Brown,

564 U.S. 915, 924 (2011). The only other named defendants—Ventex and its employees—are

a Korean corporation and Korean nationals. (See FAC, at ¶¶ 14, 18–19.) These defendants

would be subject to jurisdiction in any district in the United States, provided that the Ventex

defendants have sufficient contacts with the United States. See Fed. R. Civ. P. 4(k)(2); see also

Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 461 (9th Cir. 2007).


Page 17 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 25 of 34




       The only other defendants are the unnamed “John Doe Numbers 1-5.” These

defendants, though, do not change the analysis. Columbia knows who these individuals are

but asserts it cannot name them for fear of violating a protective order from the IPR. (See Ex.

3 (Telephonic Hearing Transcript) at 15:2-4.) As stated above, Columbia indicated during the

meet and confer process that the only John Doe it intends to name is a Seirus employee who

lives in San Diego and works at the company’s headquarters in Poway. (See Ex. 2 at 1.) But

he too would be subject to jurisdiction in the Southern District of California, just like the other

Seirus individuals. Columbia also indicated, at one point, that it may name some other Korean

nationals from Ventex, although it has since appeared to drop this plan. Even if additional

Korean nationals were added, they would also be subject to personal jurisdiction in the

Southern District of California, just as the named Ventex individuals are. So § 1965(b) simply

does not permit personal jurisdiction in Oregon, given the availability of the Southern District

of California as an alternative forum for all defendants.

II.    THIS COURT SHOULD DISMISS OR TRANSFER FOR IMPROPER
       VENUE

       Columbia brought its prior patent litigation against Seirus in Oregon, but that suit was

eventually transferred for improper venue. (See Columbia Sportswear North America, Inc. v. Seirus

Innovative Accessories, Inc., No. 3:15-cv-00064-HZ (D. Or.), D.I. 259 (Order transferring case to

Southern District of California).) Columbia conceded that venue in that case was not proper

in Oregon and instead argued about waiver. (See id. at D.I. 167 at 9-11.) Yet Columbia now

maintains that venue is proper in Oregon for this suit, even though the acts underlying

Columbia’s claim for relief have even less connection to Oregon, and even though Columbia


Page 18 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 26 of 34




has added additional defendants that have no connection to Oregon. The Court should reject

that argument and either dismiss the case or transfer it to the Southern District of California.

       A.      Oregon Is an Improper Venue

       Columbia’s venue allegations are conclusory. Columbia identifies three statutes as

supposedly supporting venue in Oregon—(1) the “general” venue provision of 28 U.S.C.

§ 1391(b)(2); (2) the RICO venue provision in 18 U.S.C. § 1965; and (3) the “residency” venue

provision of 28 U.S.C. § 1391(c)(3). (See FAC, ¶ 48.) It then alleges, without factual support,

that venue in Oregon is proper because a substantial portion of the alleged conspiracy took

place in Oregon and because Seirus and Ventex do business in Oregon. (Id.) But only a small

portion of Columbia’s allegations relate to acts purportedly taken inside of Oregon. Moreover,

Columbia cites nothing to show that Seirus and Ventex do business in Oregon. Columbia has

thus failed to meet its burden to establish that venue in Oregon is proper. See Piedmont Label,

598 F.2d at 496 (9th Cir. 1979) (“Plaintiff had the burden of showing that venue was properly

laid in the Northern District of California.”).

               1.     The “General” Venue Statute Does Not Allow Venue in Oregon

       Columbia’s first theory is that venue is proper under 28 U.S.C. § 1391(b)(2) because,

according to Columbia, a “substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred within this judicial district.” (FAC, at ¶ 48.) But Columbia has failed to plead

sufficient facts to back up this allegation, and reciting the conclusory legal language is

insufficient. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“[T]he tenet that a court must accept

as true all of the allegations contained in a complaint is inapplicable to legal conclusions.”).



Page 19 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 27 of 34




       Columbia’s allegations mention only cursory acts that took place in Oregon, none of

which were actually carried out by the Seirus individuals. Columbia points only to (1) Seirus

filing a notice informing the Court that an IPR had been initiated against Columbia’s patent;

(2) Seirus moving to stay the patent case pending the IPR; and (3) Seirus making another oral

motion to stay the patent case. (See, e.g., FAC, at ¶¶ 151, 153, 338.) Columbia identifies no

action that the Seirus Individuals took in Oregon—at most, it refers to declarations from them

that Seirus filed in support of its motions to stay. (See FAC, at ¶¶ 30-32.) Likewise, Columbia’s

allegations against Ventex and its employees also related to prior litigation—i.e., Ventex’s filing

of a motion to stay in another litigation brought by Columbia, and two Ventex representatives

(defendants Go and Park) appearing in Oregon for IPR-related depositions after the Patent

Office ordered them to do so. All of Columbia’s other allegations—which represent the bulk

of the alleged conspiracy and involve payments from Seirus to Ventex, conversations and an

agreement between them, and allegedly fraudulent filings at the Patent Office—took place

outside of Oregon. Because nearly all the acts alleged in Columbia’s FAC took place outside

of Oregon, venue in this district is improper under 28 U.S.C. § 1391(b)(2). See Costlow v. Weeks,

790 F.2d 1486, 1488 (9th Cir. 1986) (finding venue inappropriate because “virtually all of the

activity providing the basis of the complaint took place” outside of the forum state).

               2.     RICO Does Not Provide for Venue in Oregon

       Columbia also cannot invoke the federal RICO statute, 18 U.S.C. § 1965, to establish

venue. The statute provides that a RICO action “may be instituted in the district court of the

United States for any district in which such person resides, is found, has an agent, or transacts

his affairs.” 18 U.S.C. § 1965(a). None of the defendants are residents of Oregon, as

Page 20 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 28 of 34




Columbia’s complaint admits. (See Declaration of Michael Carey, ¶¶ 14-15; Declaration of

Wendy Carey, ¶¶ 2-3; Declaration of Bob Murphy, ¶¶ 2-3; see also FAC, ¶¶ 15-17.) Moreover,

Columbia does not allege any facts that would support a finding that any of the defendants

can be “found” in Oregon—indeed, Seirus does not have any agents or employees inside

Oregon (Declaration of Michael Carey, ¶ 3). See, e.g., Van Schaick v. Church of Scientology of

California, Inc., 535 F. Supp. 1125, 1133 (D. Mass. 1982) (“For a corporate defendant in a

private action under this section to be ‘found’ in the district within the meaning of this section,

it must be present in the district by its officers and agents carrying on the business of the

corporation.”). Columbia also does not allege facts that would support a finding that any of

the defendants “transact their affairs” in Oregon. It instead points only to Seirus’ and Ventex’s

participation in prior litigation in Oregon. (See FAC, ¶¶ 24, 26.) But the words “transacts his

affairs” are “to be taken in the ordinary and usual sense in which they may be used in the

business world.” Pac. Car & Foundry Co. v. Pence, 403 F.2d 949, 953 (9th Cir. 1968) (interpreting

similar language in antitrust venue statutes); see also City of New York v. Cyco. Net, Inc., 383 F.

Supp. 2d 526, 542 (S.D.N.Y. 2005) (looking to similar antitrust venue provision to interpret

RICO venue statute). Seirus has, at most, minimal sales that wind up in Oregon, so it does

not “transact” business there in any meaningful sense. See, e.g., Gatz v. Pensoldt, 271 F. Supp.

2d 1143, 1158 (D. Neb. 2003) (“The ‘transacts his affairs’ language in Section 1965(a) has been

interpreted to mean that the defendants ‘regularly transact business of a substantial and

continuous character within the district’”).




Page 21 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 29 of 34




               3.     The “Residency” Provision Does Not Provide Venue

       Columbia is also wrong to invoke 28 U.S.C. § 1391(c)(3) in support of venue. This

section provides that a civil action may be brought in “any judicial district in which any

defendant is subject to the court’s personal jurisdiction with respect to such action,” but only

“if there is no district in which an action may otherwise be brought as provided in this section.”

28 U.S.C. § 1391(c)(3). But, as shown above, the Court lacks personal jurisdiction over the

Seirus Individuals (and Seirus). And this case could have been brought in the Southern District

of California, as most allegedly bad acts occurred there.

       B.      Even If Venue Is Technically Proper in Oregon, the Court Should
               Transfer the Case to the Southern District of California Because It Is the
               More Convenient Venue

       Even if venue in Oregon is proper, this case should be transferred to the Southern

District of California under 28 U.S.C. § 1404(a), because it is the most convenient and efficient

district for this dispute to be resolved. When ruling on a motion to transfer venue under §

1404(a), a district court must find both that the requested venue is one in which the case might

have originally been brought and that the transfer is appropriate, taking into account the

convenience of the parties and the interest of justice. See First Interstate Bank v. VHG Aviation,

LLC, 291 F. Supp. 3d 1176, 1179 (D. Or. 2018). For the latter inquiry, courts consider the

various factors reproduced below:

            (1) the location where the relevant agreements were negotiated and
            executed, (2) the state that is most familiar with the governing law,
            (3) the plaintiff's choice of forum, (4) the respective parties' contacts
            with the forum, (5) the contacts relating to the plaintiff's cause of
            action in the chosen forum, (6) the differences in the costs of
            litigation in the two forums, (7) the availability of compulsory process
            to compel attendance of unwilling non-party witnesses, and (8) the
            ease of access to sources of proof.
Page 22 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59       Filed 04/12/19     Page 30 of 34




Jones v. GNC Franchising, Inc., 211 F.3d 495, 498–99 (9th Cir. 2000).

       These factors weigh heavily in favor of transfer. Nearly all of the relevant evidence

and witnesses are in the Southern District of California. Seirus is headquartered there, all of

its employees work there, and all of its documents are stored there. (See Declaration of Michael

Carey, ¶¶ 3, 5.) “The relative convenience to the witnesses is often recognized as the most

important factor to be considered in ruling on a motion under § 1404(a).” McCormack v. Medcor,

Inc., 2014 U.S. Dist. LEXIS 66502, *6 (N.D. Cal. May 14, 2014). The agreement at the center

of Columbia’s allegations was drafted and executed by Seirus with Ventex in California, not

Oregon. Moreover, the Seirus Individuals and Seirus have little, if any contact with Oregon.

By contrast, Columbia’s employees and documents will have a lesser role in the case, as the

alleged conspiracy is between Seirus and Ventex. Moreover, Columbia does significant

business in California and is an international company with likely millions in annual sales to

California, so it would face no disadvantage litigating there. These facts all strongly favor

transfer.

       Columbia’s choice of forum is not enough to outweigh the other factors. Although

there has traditionally been a “strong presumption in favor of [a] plaintiff’s choice of forum,

… [r]ecent authority suggests that this presumption has been overstated, and courts have given

less deference to the plaintiff’s choice of forum where the action has little connection with the

chosen forum.” Microsoft Corp. v. TiVo, Inc., No. C11-00134, 2011 U.S. Dist. LEXIS 53774, at

*10-11 (W.D. Wash. May 19, 2011); see also Lightspeed Aviation, Inc. v. Bose Corp., 2010 U.S. Dist.

LEXIS 106607, at *9 (D. Or. Sept. 30, 2010) (granting transfer despite presumption). This


Page 23 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
          Case 3:19-cv-00137-SI     Document 59      Filed 04/12/19     Page 31 of 34




litigation has little to do with Oregon, as most alleged acts took place outside the state and

none of the defendants reside in Oregon. Transfer is appropriate.

III.   THE COURT SHOULD DISMISS WENDY CAREY AND ROBERT
       MURPHY BECAUSE THEY WERE NOT PROPERLY SERVED

       Columbia’s attempts to serve Ms. Carey and Mr. Murphy were insufficient under

Oregon law. Columbia attempted to effectuate service against Ms. Carey and Mr. Murphy by

leaving copies of Columbia’s original Complaint at Seirus headquarters in Poway, California

when neither defendant was present. Office service may be applicable for a person who

“maintains” an office, as the Oregon rule sets out. See Or. R. Civ. P. 7(D)(2)(c) (allowing for

office service “[i]f the person to be served maintains an office for the conduct of business”)

(emphasis added). But employees of a company, like Ms. Carey and Mr. Murphy, do not

maintain an office, as they are not owners of the company. As a result, they cannot be served

through the procedures set forth in ORCP 7(D)(2). This is dictated by the common use of

the word “maintain,” and Oregon Courts have recognized the difference between an owner

(who does maintain an office) and mere employees. See Carlson v. Martin, 160 Or App 350,

361 (1999), rev den, 329 Or 287 (1999) (“Whether a mere employee of a business qualifies as

maintaining an office for the ‘conduct of business’ is not an issue in this case and we imply no

opinion on the question.”). Owners maintain an office at their company, but employees do

not because it is the company that maintains the office for the employee, not the other way

around.




Page 24 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI       Document 59       Filed 04/12/19    Page 32 of 34




IV.    COLUMBIA’S COMPLAINT FAILS TO ADEQUATELY STATE ANY
       CLAIMS FOR RELIEF

       Finally, Columbia’s complaint should be dismissed under Rule 12(b)(6), because it fails

to adequately state a claim upon which relief may be granted. The Seirus corporate defendant

explains the grounds for dismissal under Rule 12(b)(6) in its concurrently-filed motion, and

those grounds apply equally to the Seirus Individuals, who therefore join that motion in full.

                                      CONCLUSION

       For the reasons above, the Seirus Individuals ask the Court to grant the requested relief.




Page 25 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
       Case 3:19-cv-00137-SI   Document 59     Filed 04/12/19        Page 33 of 34




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Page 26 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
        Case 3:19-cv-00137-SI        Document 59      Filed 04/12/19    Page 34 of 34




                               CERTIFICATE OF COMPLIANCE

       This brief is in compliance with Oregon Local Rule 7-2(b). The brief contains, 7,736

words as determined by Microsoft Word including headings, footnotes and quotations, but

excluding the caption, table of contents, table of cases and authorities, signature block,

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Page 27 - SEIRUS INDIVIDUALS’ MOTION TO DISMISS FOR LACK OF PERSONAL
        JURISDICTION, FOR LACK OF VENUE, FOR INSUFFICIENT SERVICE,
        AND FOR FAILURE TO STATE A CLAIM
